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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                         CIVIL ACTION

VERSUS                                                                        NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                                      SECTION: “I”(5)

                                                    ORDER

        At the July 28, 2022 status conference, the Court inquired of the City of New Orleans’

representative, Mr. Smith, whether meetings were continuing to take place between the

City and the Sheriff or any other person or entity about retrofitting the Orleans Justice

Center (“OJC”) rather than constructing the Phase III facility. At that time, Mr. Smith denied

any such meetings had taken place, and the Court believes that Mr. Smith believed that

answer to be true at the time. However, the Court is aware that such meetings have, in fact,

taken place and that they have involved Dr. James Austin, who has previously been

identified to the Court as an expert working on behalf of the City. 1 At the status conference,

Mr. Smith indicated, again truthfully, that Dr. Austin was currently contracted through the

Phase III project manager, Hill International (“Hill”). However, as Hill has no connection at

all to any past proposals concerning a retrofit, the Court must conclude that Dr. Austin is

participating in such meetings on behalf of some person or entity other than Hill or the City

of New Orleans. For what should be obvious reasons at this point, the Court is more

concerned about why such meetings continue, when it should be clear to anyone paying




1In fact, Dr. Austin was called by the City and testified as its expert witness at the lengthy Rule 60 evidentiary
hearing in October 2020. (Rec. doc. 1366).
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attention to this case that retrofitting OJC to address the pressing issue of medical and

mental-health care will not happen.

   For these reasons, the Court will hold yet another status conference, on August 18,

2022 at 1:00 p.m., to hear from the party or parties responsible for these retrofit

meetings. Specifically, the Court expects answers to the following questions:

   1. Is the Orleans Parish Sheriff’s Office the party responsible for conducting these

       meetings?

   2. If not, who is?

   3. Where and when have they taken place?

   4. Who has participated in the meetings and on whose behalf?

   5. Who directed Dr. Austin, the City’s expert, to participate in the meetings?

   6. Who is paying Dr. Austin to participate in the meetings?

   7. What other “work” is being actively undertaken on the subject of retrofitting OJC

       and why?

   8. Does any party intend to present to the Court (or to anyone else, including the

       general public) another report, recommendation, suggestion, or proposal to retrofit

       OJC in lieu of constructing Phase III?

       The Court expects every individual who can answer one or more of these questions,

including Dr. Austin, to personally attend the status conference and to be prepared to

respond to these and related inquiries under oath.




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 New Orleans, Louisiana, this   9th day of       August    , 2022.




                                                  MICHAEL B. NORTH
                                             UNITED STATES MAGISTRATE JUDGE




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